         Case 21-1975, Document 255, 06/06/2024, 3625493, Page1 of 8




            21-1975
            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT

  NEW YORK STATE TELECOMMUNICATIONS ASSOCIATION, INC.,
CTIA – THE WIRELESS ASSOCIATION, ACA CONNECTS – AMERICA’S
COMMUNICATIONS ASSOCIATION, USTELECOM – THE BROADBAND
  ASSOCIATION, NTCA – THE RURAL BROADBAND ASSOCIATION,
SATELLITE BROADCASTING AND COMMUNICATIONS ASSOCIATION,
               on behalf of their respective members,
                                           Plaintiffs-Appellees,
                                  v.
LETITIA A. JAMES, in her official capacity as Attorney General of New York,
                                              Defendant-Appellant.

            On Appeal from the United States District Court for the
     Eastern District of New York, No. 21-cv-2389 (Hon. Denis R. Hurley)

PLAINTIFFS-APPELLEES’ UNOPPOSED MOTION FOR EXTENSION
        OF TIME TO FILE PETITION FOR REHEARING
                 OR REHEARING EN BANC

                                           Scott H. Angstreich
                                           KELLOGG, HANSEN, TODD,
                                            FIGEL & FREDERICK, P.L.L.C.
                                           1615 M Street, N.W., Suite 400
                                           Washington, D.C. 20036
                                           (202) 326-7900

        Counsel for New York State Telecommunications Association, Inc.;
  CTIA – The Wireless Association; NTCA – The Rural Broadband Association;
                  and USTelecom – The Broadband Association
June 6, 2024
                      (additional counsel listed on next page)
         Case 21-1975, Document 255, 06/06/2024, 3625493, Page2 of 8



Jeffrey A. Lamken                      Jared P. Marx
MOLOLAMKEN LLP                         HARRIS, WILTSHIRE & GRANNIS, LLP
The Watergate, Suite 500               1919 M Street, N.W., 8th Floor
600 New Hampshire Avenue, N.W.         Washington, D.C. 20036
Washington, D.C. 20037                 (202) 730-1328
(202) 556-2000
                                       Counsel for Satellite Broadcasting &
Counsel for ACA Connects –             Communications Association
America’s Communications
Association
                           Case 21-1975, Document 255, 06/06/2024, 3625493, Page3 of 8
                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                        MOTION INFORMATION STATEMENT

Docket Number(s): 21-1975                                                                             Caption [use short title]

Motion for: extension of time to file petition for rehearing                   New York State Telecommunications
                                                                               Association, Inc. v. James


Set forth below precise, complete statement of relief sought:
Plaintiffs-Appellees respectfully request a 7-day
extension to and including June 14, 2024, to consider
whether to file and to prepare a petition for rehearing
or rehearing en banc in this appeal. Any petition is
presently due on June 7, 2024 per relief this Court
ordered previously.

MOVING PARTY: New York State Telecommunications Association, Inc. OPPOSING PARTY:
                                                                                                    Letitia A. James in her official capacity as Attorney General of New York



              Plaintiff                     Defendant

              Appellant/Petitioner        Appellee/Respondent

MOVING ATTORNEY: Scott H. Angstreich                        OPPOSING ATTORNEY: Judith N. Vale
                          [name of attorney, with firm, address, phone number and e-mail]
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.                         Deputy Solicitor General, Office of the New York State Attorney General, State of New York


1615 M Street, N.W., Suite 400; Washington, D.C. 20036 28 Liberty Street New York, New York 10005

sangstreich@kellogghansen.com; (202) 326-7900                              judith.vale@ag.ny.gov; (212) 416-8020

Court- Judge/ Agency appealed from: E.D.N.Y. - Judge Hurley

Please check appropriate boxes:                                              FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                             INJUCTIONS PENDING APPEAL:
 Has movant notified opposing counsel (required by Local Rule 27.1):          Has this request for relief been made below?          Yes No
             Yes       No (explain):                                          Has this relief been previously sought in this court? Yes No

                                                                              Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
            Unopposed        Opposed      Don’t Know
Does opposing counsel intend to file a response:
             Yes      ✔
                      _No       Don’t Know



Is the oral argument on motion requested?               Yes      No (requests for oral argument will not necessarily be granted)


Has the appeal argument date been set?                  Yes      No If yes, enter date: Argument was held on January 12, 2023


Signature of Moving Attorney:
Scott Angstreich Digitally signed by Scott Angstreich
                 Date: 2024.06.05 16:15:43 -04'00'
                                                      Date: June 6, 2024       Service :      Electronic           Other [Attach proof of service]

Form T-1080 (rev. 10-23)
           Case 21-1975, Document 255, 06/06/2024, 3625493, Page4 of 8




                             UNOPPOSED MOTION

      Pursuant to Federal Rules of Appellate Procedure 27, 35, and 40, as well as

Local Rules 27.1, 35.1, and 40.1, Plaintiffs-Appellees respectfully request a one-

week extension of time to June 14, 2024, to file a petition for rehearing and / or

rehearing en banc. Defendant-Appellant does not oppose this request.

      1.     On April 26, 2024, this Court issued an opinion for a majority of the

panel deciding to reverse the judgment and vacate the permanent injunction the

District Court (Hurley, J.) had entered.

      2.     On April 30, 2024, the Court granted Plaintiffs-Appellees’ unopposed

motion for an extension of time to and including May 24, 2024, to file a petition

for rehearing or rehearing en banc. See Fed. R. App. P. 40(a)(1) (allowing 14 days

to file petition for rehearing or rehearing en banc “[u]nless the time is shortened or

extended by order or local rule”).

      3.     On May 24, 2024, the Court granted Plaintiffs-Appellees’ unopposed

further motion for an extension of time to and including June 7, 2024, to file a

petition for rehearing or rehearing en banc.

      4.     Plaintiffs-Appellees now respectfully request a further one-week

extension to file a petition — to June 14, 2024. See Schulz v. IRS, 413 F.3d 297,

299 (2d Cir. 2005) (“grant[ing] the motion to extend time in which to file a petition

for rehearing en banc”). There is good cause to grant the requested extension.
           Case 21-1975, Document 255, 06/06/2024, 3625493, Page5 of 8




      5.     Plaintiffs-Appellees and Defendant-Appellant — which does not

oppose this Motion — continue to discuss and anticipate soon reaching an agreed-

to stipulation regarding the New York law at issue in the above-captioned appeal

that would obviate the need for Plaintiffs-Appellees to file a rehearing petition

before this Court.

      6.     As discussed in our May 22, 2024 motion for an extension, following

diligent and repeated discussions, the parties reached tentative agreement on a draft

of this agreed-to stipulation — by which Plaintiffs-Appellees would agree to forgo

filing a petition for rehearing or rehearing en banc in exchange for certain

agreements from Defendant-Appellant — on or around May 22, 2024.

      7.     While the parties had expected to reach final agreement as to that

agreed-to stipulation on or before June 7, 2024 — the current date by which

Plaintiffs-Appellees must file any petition for rehearing or rehearing en banc —

the parties have found need for a short, additional extension of time to obtain all

necessary approvals.

      8.     Defendant-Appellant does not oppose this request.

                                   *      *      *

      For the foregoing reasons, Plaintiffs-Appellees respectfully request that the

Court extend the deadline to file any petition for rehearing and / or rehearing en

banc to June 14, 2024.



                                          2
          Case 21-1975, Document 255, 06/06/2024, 3625493, Page6 of 8




                                           Respectfully submitted,

/s/ Jeffry A. Lamken                       /s/ Scott H. Angstreich
Jeffrey A. Lamken                          Scott H. Angstreich
MOLOLAMKEN LLP                             Andrew E. Goldsmith
The Watergate, Suite 500                   Joseph S. Hall
600 New Hampshire Avenue, N.W.             Alex A. Parkinson
Washington, D.C. 20037                     KELLOGG, HANSEN, TODD,
(202) 556-2000                               FIGEL & FREDERICK, P.L.L.C.
jlamken@mololamken.com                     1615 M Street, N.W., Suite 400
                                           Washington, D.C. 20036
Counsel for ACA Connects –                 (202) 326-7900
America’s Communications                   sangstreich@kellogghansen.com
Association                                agoldsmith@kellogghansen.com
                                           jhall@kellogghansen.com
/s/ Jared P. Marx                          aparkinson@kellogghansen.com
Jared P. Marx
HARRIS, WILTSHIRE & GRANNIS, LLP           Counsel for New York State
1919 M Street, N.W., 8th Floor             Telecommunications Association, Inc.;
Washington, D.C. 20036                     CTIA – The Wireless Association;
(202) 730-1328                             NTCA – The Rural Broadband
jmarx@hwglaw.com                           Association; and USTelecom –
                                           The Broadband Association
Counsel for Satellite Broadcasting &
Communications Association


June 6, 2024




                                       3
           Case 21-1975, Document 255, 06/06/2024, 3625493, Page7 of 8




                         CERTIFICATE OF SERVICE

      On June 6, 2024, the foregoing document was submitted to the Court

through the CM/ECF system. All participants in the case are represented by

registered CM/ECF users and will be notified of filing electronically by the

CM/ECF system.

                                             /s/ Scott H. Angstreich
                                             Scott H. Angstreich
          Case 21-1975, Document 255, 06/06/2024, 3625493, Page8 of 8




                      CERTIFICATE OF COMPLIANCE

      I certify, pursuant to Federal Rule of Appellate Procedure 32(g), that this

brief complies with the type-volume limitation of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the portions of the brief exempted by

Federal Rule of Appellate Procedure 32(f), the brief contains 430 words.

      I further certify that this brief complies with the typeface and type style

requirements of Federal Rule of Appellate Procedure 32(a)(5) and 32(a)(6) and

Local Rule 32.1 because it has been prepared using Microsoft Word 2016 in a

proportionally spaced typeface (Times New Roman, 14 point).



                                              /s/ Scott H. Angstreich
                                              Scott H. Angstreich

June 6, 2024
